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IN THE UNITED sTATEs nrsTRIC'i1 ddi§in‘i wl “m‘[]

FOR THE DISTRICT OF MARY
(Northern Divisi()n) IIQWPEB -| p 5 02 ’

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V.

WESTLAKE SERVICES, LLC
D/B/A WESTLAKE FINANCIAL SERVICES, Case No. l:l l-cv-1837-ELH
et al.

Defendants.

 

 

FINAL ORDER AND JUDGMENT
APPROVING SETTLEMENT AND CERTIFYING SETTLEMENT CLASSES

Upon review and consideration of the Settlement Agreement dated January ]9, 2012, by
and between the Representative P|aintiff Ashley McDaniels (acting individually and on behalf of
the Classes defined beiow) and Defendant Westlake Services, LLC d/b/a Westlake Financial
Services (“Westlai<e”), the memoranda submitted by counsel and arguments heard during the
Fairness Hearing on February 7 , 2014, and the lack of any objections to the settlement,

IT IS HEREBY ORDERED and adjudged as follows:

l. Pursuant to FED. R. CIV. P. 23(e), the settlement of this action, as embodied in the
terms of the Settlement Agreernent is hereby finally approved as a fair, reasonable, and adequate
settlement of this case in light of the factuai, legal, practical and procedural considerations raised
by this case. The Settlement Agreement is incorporated by reference into this Order (with
capitalized terms defined as set forth in the Settlement Agreement) and is hereby adopted as an
Order of this Court.

2. For the purpose of settlement, as addressed further beloW, pursuant to FED. R.

CIV. P. 23(a) and (b)(3), the Court hereby finally certifies the following Classes:

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Regossessz`on Class

All persons whose consumer goods were repossessed by Westlake
on or before July 22, 2011 in connection with a credit contract
governed by Subtitle 10 of Title 12 of the Maryland Commercial
Law Article.

Interest Rate/Fee Class

All persons who were charged interest at a rate greater than

twenty-four percent (24%) and/or a convenience fee in connection

with consumer credit contracts entered prior to July 22, 2011 that .
were financed by, assigned to, or acquired by Westlake and were

governed by Subtitle 10 of Tile 12 of the Maryland Commercial

Law Article.

Excluded from the Classes are those individuals who now are, or
ever have been, an officer of Westlake as well as the spouses,
parents, siblings and children of all such individuals

The Classes shall consist of all persons so described, except that they shall not include the
following persons Who timely opted out of the Classes in writing to the Class Administrator:

a) Matthew A. Cole with account ending in 9409; and

b) Inka 0. Ward and Edward Simon Jr. with account ending in 9100.

3. The Court finds that the mailed notice given to potential Class Members who
Were involved in transactions with Westlake was the best notice practicable under the
circumstances and satisfies the requirements of due process and FED. R. CIV. P. 23.

4. The Court appoints Ashley McDaniels as Representative Plaintiff of the Classes
and finds that she meets the requirements of FED. R. ClV. P. 23.

5. The Court appoints the following lawyer as counsel to the Classes and finds that

this attorney meets the requirements of FED. R. CIV. P. 23:

Cory L. Zajdel (Fed. Bar No. 281‘91)
Z LAW, LLC
301 Main Street, Suite 2-D
Reisterstown, MD 21136

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6. The Court further finds that all the requirements for class certification are met in
this case:

a. The Prerequisites of FED. R. CIV. P. 23:

FED. R. ClV. P. 23(a) requires the following four threshold elements be met in order for a
class to qualify for certification: (1)`the class is so numerous that joinder of all members is
impracticable; (2) there are questions of law or fact common to the class; (3) the claim or
defenses of the representative parties are typical of the claims or defenses of the class; and (4)
the representative will fairly and adequately protect the interests of the class.

FED. R. ClV. P. 2_3(3)(1) (m_imerosity): The Repossession Class in this action

consists of all persons whose consumer goods were repossessed by Westlake on

or before July 22, 2011 in connection with an installment sale contract governed

by Mary|and’s Credit Grantor Closed End Credit Provisions (“CLEC”), MD.

CODE ANN., COMM. LAW. § 12-1001 et seq. This Court finds that 219

transactions meet the Repossession Class definition and, therefore, the

Repossession Class is so numerous that joinder would be impracticable The

interest Rate/Fee Class in this action consists of all persons who were charged

interest at a rate greater than twenty-four percent (24%) and/or a convenience fee f

in connection with consumer credit contracts entered prior to July 22, 2011 that

were financed by, assigned to, or acquired by Westlake and were governed by the

CLEC. This Court finds that 3,050 transactions meet the Interest Rate/Fee Class

definition and, therefore, the Class is so numerous that joinder would be

impracticable Thus, the Court finds that the numerosity requirement under FED.

R. CIV. P. 23(a)(1) is satisfied

FED. R. CIV. P. l§_(a)_@) (commonalitv of facts and IM: Representative

Plaintiff alleged in this case that Westlake effected the repossession of

Repossession Class Member vehiclesthrough form notices of the pending sale

and, thereafter, form notices of the claimed deficiency that failed to comply with

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all of the requirements of CLEC and also violated Maryland’s Consumer

Protection Act, MD. CODE ANN., COMM. LAW § 13-101 et seq. Representative

Plaintiff also alleged in this case that Westlake charged a rate of interest and

certain fees in servicing Interest Rate/Fee Class Member credit accounts that were

greater than allowed under Maryland law. The Court finds that a determination of
the legality of Defendant’s practices concern common questions of law and fact.

As such the Court finds the requirements of FED. R. CIV. P. 23(a)(2) are satisfied.‘

FED. R. CIV. P. 23(a)(3} (tvpi£r_ilitv of claims and defenses): This factor focuses

on the consideration of whether the representative’s interests are truly aligned and

consistent with those of Class Members. In this case, Representative Plaintiff’ s

claims are typical of the claims of the members of the Repossession and Interest

Rate/Fee Classes. Thus, Representative Plaintiff’s interests are aligned and 7

consistent with those of the Class Members. The Court finds that the

requirements of typicality under FED. R. CIV. P. 23(a)(3) are satisfied

FED. RLCIV. P. 23(31(4) (adeguate representationl: Representative Plaintiff`s

claims are not conflicting or inconsistent with any Class Member claims.

Moreover, the Court finds that the Classes are represented by able counsel with

extensive experience in class action litigation. Both the Representative Plaintiff

and Class Counsel have adequately represented the interests of the Classes. Thus,

the Court finds that the requirements of adequate representation under FED. R.

CIV. P. 23(a)(4) are satisfied

b. Reguirements of FED. R. CIV. P. 23(b):

After the requirements of FED. R. CIV. P. 23(a) are found to exist, the Court must
determine pursuant to FED. R. ClV. P. 23(b) whether this case may be maintained as a class action
under FED. R. CIV. P. 23(b)(l), (b)(2) or (b)(3).

FED. R. CIV. P. 23(b){31: This Court finds that the allegations in this case focus

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on uniform and consistent practices and that there are common, over-riding legal

claims held by all Class Members regarding the legality of the form repossession

notices and the post-sale accounting in the transactions of the members of the

Repossession Class, as well as the interest rates and servicing charges assessed to

members of the Interest Rate/Fee Class. The Court further finds that the pursuit

of numerous individual cases which would be essentially identical would be a

waste of judicial time and resources In summary, common questions

predominate over individualized questions and _a class action suit is the superior

vehicle to efficiently adjudicate this lawsuit Certification under FED. R. CIV. P.

23(b)(3) is appropriate

7. This Court finds that the settlement is fair, adequate? and reasonable after due
consideration of: the Representative Plaintiff’s likelihood of success at trial; the range of
Representative Plaintiff’ s possible recovery; the range of possible recovery at which a settlement
is fair, adequate, and reasonable; the complexity, expense and duration of the litigation; the
substance and amount of opposition to the settlement and the state of proceedings at which the
settlement Was achieved; the lack of any timely objections; all written submissions, affidavits
and arguments of counsel; and after mailing two notices and a hearing Accordingly, the
Settlement Agreement is approved and shall govern all issues regarding the settlement and all
rights of the parties to this settlement, including the Class Members. Each Class Member shall
be bound by the Agreement including the releases in the Settlement Agreement, which are
hereby incorporated by reference and become part of the final judgment in this action.

8. The parties are hereby ORDERED to carry out their respective obligations under
the Settlement Agreement.

9. The Settlement Administrator is hereby DIRECTED to pay all Interest Rate/'Fee
Class Members who are obligors on the 2,907 Eligible Credit Accounts within fifteen (15) days

after the Effective Date in accordance with the formula set forth in the Settlement Agreement.

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The $1,478.53 deposited by the Settlement Administrator on August 30, 2013 resulting from
Westlake's adjustments to Class Member accounts in response to this Court's Order (ECF #58),
shall not be distributed under the formula set forth in the Settlement Agreement.

10. The Settlement Administrator is hereby DIRECTED to distribute the August 30,
2013 deposited funds in accordance with the schedule identifying specific amounts owed to
specific Class Members previously provided by Westlake to the Settlement Administrator.

11. In accordance with the Settlement Agreement, within five (5) days after the
Effective Date, the Settlement Administrator shall pay or take all reasonable steps to transfer,
assign or release the following funds, out of the Settlement Fund, to the IOLTA Trust Account of

Z Law, LLC:
(i) Attorneys’ fees totaling $192,002.10.
(ii) Litigation expenses totaling $537.25.

(iii) Incentive payment totaling $5,000.00 for the
Representative Plaintiff Ashley McDaniels to award the
Representative Plaintiff for her participation in this action.

12. The Court has reviewed the invoices of the Settlement Administrator submitted
after Named Plaintiff’s l\/Iotion for Fina| Approval and approves the payment of invoice number
12-2915 in the amount of $8,018.50 and authorizes the Settlement Administrator to release
monies in that amount to the Settlement Administrator’s own operating account upon receipt of
notice from both Plaintif`f" s and Wcstlake’s counsel that the Eff`ective Date has been reached. In
addition, the Settlement Administrator is authorized to set aside an additional $7,705.00 for the
estimated time and expenses associated with invoice number 14-3078. The Settlement
Administrator must file a final invoice of actual time and expenses with the Court within one
hundred eighty (180) days from the docketing of this Order and upon approval may release the
approved amount to the Settlement Administrator's own operating account.

13. The Court hereby approves the protocol for distributing the unclaimed settlement

funds set forth in the Settlement Agreement as fair, reasonable, and warranted under the

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circumstances In accordance with the Settlement Agreement, any residue from the Settlement
Fund shall create a cy pres fund. The cy pres fund shall be donated to Legal Aid Bureau, Inc. in
accordance with the terms of the Settlement Agreement. -

14. Pursuant to FED. R. CIV. P. 54(b), all Released Claims against the Released
Persons (as those terms are defined in the Settlement Agreement) are hereby dismissed on the
merits and with prejudice.

15. Each and every Class Member is permanently enjoined from bringing, joining,
assisting in, or continuing to prosecute against any of the Released Persons for any of the
Released Claims.

16. Representative Plaintiffs individual claim against the Released Persons (as those
terms are defined in the Individual Settlement Agreement) is hereby dismissed on the merits and
with prejudice

17. q Representative Plaintiff is permanently enjoined from bringing, joining, assisting
in, or continuing to prosecute against any of the Released Persons for any of the Released
Claims.

18. Without further order of the Court, the Parties may agree to reasonable extensions

of time to carry out any of the provisions of the Settlement Agreement.

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19. A“l`his Court retains jurisdiction of all matters relating to the interpretation,
administration, implementation, effectuation and enforcement of the Settlement Agreement. The

Court further retains jurisdiction to enforce this Order. `

Dated: February %, 2014.

/Q@LMK.#M\QM_»

Ellen Lipton l-lollander
United States District Judge

